                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )    Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )    Case No. 21-61491
                                                         )    (Jointly Administered)
                          Debtors.                       )
                                                         )    Judge Russ Kendig


            NOTICE OF MOTION FOR ESTABLISHMENT OF APPLICABLE
           HEARING DATES AND DEADLINES FOR PLAN OF LIQUIDATION

         PLEASE TAKE NOTICE THAT on February 25, 2022, the Squirrels Research Labs

LLC, a debtor and debtor-in-possession (“Debtor”), in the above-captioned Chapter 11 cases,

filed the Motion For Establishment of Applicable Hearing Dates and Deadlines For Plan of

Liquidation (the “Motion”).

         Your rights may be affected. You should read the Motion carefully and discuss it with

your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney, you

may wish to consult one.)

         Pursuant to Local Rule 9013-1(b), if you do not want the Court to grant the relief

requested in the Motion, or if you want the Court to consider your views on the Motion, then on

or before March 11, 2022, you or your attorney must file with the Court a written objection

explaining your position at:

                                   United States Bankruptcy Court
                                   Office of the Clerk
                                   Ralph Regula Federal Building and U.S. Courthouse
                                   401 McKinley Avenue, SW
                                   Canton, Ohio 44702

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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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You must also serve a copy of your request on the undersigned counsel:

                             Marc B. Merklin
                             Julie K. Zurn
                             Brouse McDowell LPA
                             388 S. Main Street, Suite 500
                             Akron, Ohio 44311

                             Counsel for the Debtors
                             and Debtors-in-Possession

       Pursuant to Local Rule 9013-1(d), if you or your attorney do not take these steps, the

Court may grant the relief requested without conducting a hearing and without further notice to

you.

Dated: February 25, 2022                     Respectfully submitted,

                                             /s/ Julie K. Zurn
                                             Marc B. Merklin (0018195)
                                             Julie K. Zurn (0066391)
                                             BROUSE McDOWELL, LPA
                                             388 S. Main Street, Suite 500
                                             Akron, Ohio 44311
                                             Telephone: (330) 535-5711
                                             Facsimile: (330) 253-8601
                                             mmerklin@brouse.com
                                             jzurn@brouse.com

                                             Counsel for the Debtors
                                             and Debtors-in-Possession




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                                CERTIFICATE OF SERVICE

       I, Julie K. Zurn, hereby certify that on February 25, 2022, a true and correct copy of the

Notice of Motion For Establishment of Applicable Hearing Dates and Deadlines For Plan of

Liquidation was served via the court’s Electronic Case Filing System on these entities and

individual who are listed on the court’s Electronic Mail Notice List:

       John C. Cannizzaro on behalf of Interested Party Instantiation LLC at
       John.Cannizzaro@icemiller.com, lauren.prohaska@icemiller.com

       Christopher Paul Combest on behalf of Creditor Avnet, Inc. at
       christopher.combest@quarles.com

       John G. Farnan on behalf of Creditor Cincinnati Insurance Company at
       jfarnan@westonhurd.com

       Robert E. Goff, Jr. on behalf of Creditor Cincinnati Insurance Company at
       rgoff@westonhurd.com, jroberts@westonhurd.com

       Steven Heimberger on behalf of Interested Party SCEB, LLC at sheimberger@rlbllp.com,
       HeimbergerSR82735@notify.bestcase.com

       Jeannie Kim on behalf of Interested Party Instantiation LLC at
       JeKim@sheppardmullin.com, dgatmen@sheppardmullin.com

       Marc Merklin on behalf of Debtor Squirrels Research Labs LLC at
       mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com

       David M. Neumann on behalf of Creditor Envista Forensics, LLC d/b/a AREPA
       dneumann@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

       David M. Neumann on behalf of Creditor Torea Consulting Ltd. at
       dneumann@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

       Christopher Niekamp on behalf of Creditor Better PC, LLC at cniekamp@bdblaw.com

       Paul J. Schumacher on behalf of Interested Party Ohio Power Company dba American
       Electric Power at pschumacher@dmclaw.com, tgross@dmclaw.com

       Frederic P. Schwieg at fschwieg@schwieglaw.com




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       Frederic P. Schwieg on behalf of Trustee Frederic P. Schwieg at
       fschwieg@schwieglaw.com

       Bryan Sisto on behalf of Creditor Carl Forsell at bsisto@fbtlaw.com

       Richard J. Thomas on behalf of Creditor Premier Bank at
       rthomas@hendersoncovington.com, dciambotti@hendersoncovington.com

       Joshua Ryan Vaughan on behalf of Creditor Ohio Bureau of Workers Compensation at
       jvaughan@amer-collect.com, SAllman@AMER-COLLECT.COM;HouliECF@aol.com

       Julie K. Zurn on behalf of Debtor Squirrels Research Labs LLC at
       jzurn@brouse.com, tpalcic@brouse.com

       Kate M. Bradley ust44 on behalf of U.S. Trustee United States Trustee at
       kate.m.bradley@usdoj.gov

And by regular U.S. Mail on February 25, 2022, on the following:

Instantiation LLC
c/o Jason R. Schendel
Sheppard, Mullin, Richter & Hampton LLP
4 Embarcadero Center, 17th Flr
San Francisco, CA 94111

                                                   /s/ Julie K. Zurn
                                                   Julie K. Zurn (0066391)
                                                   BROUSE McDOWELL, LPA
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